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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                          )
 In re:                                                   )     Chapter 11
                                                          )
 TZEW HOLDCO LLC, et al., 1                               )     Case No. 20-10910 (CSS)
                                                          )
                            Debtors                       )     Jointly Administered
                                                          )

                        NOTICE OF APPEARANCE AND REQUEST FOR
                           SERVICE OF NOTICE AND PLEADINGS

The Texas Comptroller of Public Accounts (“Comptroller”) hereby gives notice of its

appearance in the case, pursuant to Bankruptcy Rule 9010, by and through the undersigned

counsel:

                                              E. Stuart Phillips
                                        Assistant Attorney General
                                        bk-sphillips@oag.texas.gov
                                     c/o Sherri K. Simpson, Paralegal
                                      sherri.simpson@oag.texas.gov
                                         Attorney General's Office
                                    Bankruptcy & Collections Division
                                              P.O. Box 12548
                                         Austin, TX 78711-2548

          The Comptroller respectfully requests through its counsel that it be served with copies of

all notices and other documents issued by the Clerk of the Court and all other reports, pleadings

and notices filed by the Trustee or any other interested party in this case, in accordance with

Bankruptcy Rules 2002, 3017 and 9013, and any other Bankruptcy Rules or local rules governing

notice.



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Apex Parks Group, LLC (5579); Apex Real Property Holdings, LLC (1013); Speedzone Beverage
Company, LLC (2339); Speedzone Holdings, LLC (7913); Speedzone Management, LLC (2937); TZEW Holdco LLC
(0252); and TZEW Intermediate Corp. (1058). The location of the Debtors’ service address in these chapter 11 cases
is: 18575 Jamboree Road, Suite 600, Irvine, CA 92612
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                       Respectfully submitted,

                       KEN PAXTON
                       Attorney General of Texas

                       JEFFREY C. MATEER
                       First Assistant Attorney General

                       RYAN L BANGERT
                       Deputy First Assistant Attorney General

                       DARREN L. MCCARTY
                       Deputy Attorney General for Civil Litigation

                       RACHEL R. OBALDO
                       Assistant Attorney General
                       Chief, Bankruptcy & Collections Division

                       /s/ E. Stuart Phillips
                       E. Stuart Phillips
                       Assistant Attorney General
                       Texas State Bar No. 15923600
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                       P.O. Box 12548
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                       COUNSEL FOR THE TEXAS
                       COMPTROLLER OF PUBLIC ACCOUNTS




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                                CERTIFICATE OF SERVICE

        I certify that on April 17, 2020, a true copy of the foregoing will be mailed by first class
mail to:

TZEW Holdco LLC
18575 Jamboree Road, Suite 600
Irvine, CA 92612

And the foregoing notice was served on April 16, 2020, Electronic Means as listed on the Court’s
ECF Noticing System on:

•   Dustin Parker Branch branchd@ballardspahr.com, carolod@ballardspahr.com;
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                                                      /s/ Sherri K. Simpson
                                                      Sherri K. Simpson




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